                 UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF MICHIGAN
                   SOUTHERN DIVISION – DETROIT

 IN THE MATTER OF:
 Hugh Michael Sonk,                             Bankruptcy Case No. 18-49858
                                                Honorable Maria L. Oxholm
       Debtor.                                  Chapter 7
                                  /


    DEBTOR’S MOTION FOR ENTRY OF ORDER COMPELLING
            ABANDONMENT OF REAL PROPERTY

       NOW COMES the Debtor, Hugh Michael Sonk (“Debtor”) by and

 though his counsel, Stevenson & Bullock, P.L.C., and in support of this

 motion states as follows:

       1.      On July 13, 2018, the Debtor filed a Petition under Chapter 7 of

 the Bankruptcy Code.

       2.      The Court has jurisdiction over the subject matter of this

 motion pursuant to 28 U.S.C. §§ 157(a)-(b), 1334(b).

       3.      Timothy J. Miller is the duly appointed Chapter 7 Trustee.

       4.      Debtor brings this motion pursuant to 11 U.S.C. §§ 105 and

 554; F.R.Bankr.P. 4001 and 6007(b), and E.D. Mich. LBR 9014-1.

       5.      Debtor owns real property commonly known as 505 E. Huron

 St., Unit 403, Ann Arbor, MI 48104 (the “Real Property”).




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       6.      The Trustee hired a real estate broker for the estate who

 performed a comparable market analysis of the Real Property, and believes

 the value of the property to be approximately $520,000.00.

       7.      Debtor submits that there is no equity in the Real Property that

 could be administered by the Trustee. The Real Property has liens from two

 combined mortgages totaling approximately $584,622.50. The debtor is

 able to elect an exemption of $14,771.73 pursuant to 11 U.S.C. §

 522(d)(1)(and a greater amount should he elect exemptions pursuant to the

 State of Michigan).

       8.      Pursuant to 11 U.S.C. § 554(b) and F.R.BANK.P. 6007, on

 request by a party in interest, the court may order the trustee to abandon any

 property of the estate, after a notice and hearing, that is burdensome to the

 estate or that is of inconsequential value and benefit to the estate and Debtor

 respectfully requests an order compelling the Trustee to abandon the

 Property.

       9.      Pursuant to 11 U.S.C. § 554(b), Debtor asserts that any such

 interest in the Property is burdensome to the Estate and/or it is of

 inconsequential value and benefit to the Estate.

       10.     The automatic stay was lifted as to the first lien holder on or

 about April 4, 2019, after providing a generous six months to the trustee to




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 evaluate and market said property. The inability to list or generate a sale is

 inconsistent with the requirement to expeditiously administer this asset set

 forth in 11 U.S.C. § 704(a)(1).

       11.     The Trustee has been unable to obtain an offer on the Real

 Property that would generate any benefit to the estate.

       WHEREFORE, Debtor prays that this Honorable court enter an Order

 Granting Debtor’s Motion for Entry of Order Compelling Abandonment of

 Real Property. Furthermore, Debtor requests such other and further relief as

 this Court deems appropriate and necessary.


                                          Respectfully submitted,


                                          /s/ Michelle M. Stephenson
                                          Michelle M. Stephenson (P67815)
                                          Stevenson & Bullock, P.L.C.
                                          Attorneys for the Debtor
                                          26100 American Drive #500
                                          Southfield, MI 48034
                                          (248) 354-7906
                                          mstephenson@sbplclaw.com
 Dated: April 30, 2019




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                 UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF MICHIGAN
                   SOUTHERN DIVISION – DETROIT

 IN THE MATTER OF:
 Hugh Michael Sonk,                             Bankruptcy Case No. 18-49858
                                                Honorable Maria L. Oxholm
       Debtor.                                  Chapter 7
                                  /


    ORDER GRANTING DEBTOR’S MOTION FOR ENTRY OF
  ORDER COMPELLING ABANDONMENT OF REAL PROPERTY

       This matter having come before this Court upon Debtor’s Motion for

 Entry of Order Compelling Abandonment of Real Property pursuant to

 Federal Rule of Bankruptcy Procedure 6007(b); no response having been

 filed, or if a response was filed, the basis for such response has bee resolved;

 and the Court being otherwise fully advised in the premises:

       IT IS HEREBY ORDERED that the Trustee shall abandon real

 property commonly known as 505 E. Huron St., Unit 403, Ann Arbor, MI

 48104 (the “Real Property”).

       IT IS HEREBY FURTHER ORDERED that upon entry of this

 Order the Trustee is deemed to have abandoned Estate’s interest in the Real

 Property and it is no longer property of the bankruptcy estate.




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                 UNITED STATES BANKRUPTCY COURT
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 IN THE MATTER OF:
 Hugh Michael Sonk,                              Bankruptcy Case No. 18-49858
                                                 Honorable Maria L. Oxholm
       Debtor.                                   Chapter 7
                                  /


   BRIEF IN SUPPORT OF DEBTOR’S MOTION FOR ENTRY OF
  ORDER COMPELLING ABANDONMENT OF REAL PROPERTY

       NOW COMES the Debtor, Hugh Michael Sonk, by and through his

 counsel, Stevenson & Bullock, P.L.C., and in support of his motion relies

 upon 11 U.S.C. §554(b) and the facts underlying the Motion.



                                           Respectfully submitted,

                                           /s/ Michelle M. Stephenson
                                           Michelle M. Stephenson (P51653)
                                           Stevenson & Bullock, P.L.C.
                                           Attorneys for the Debtor
                                           26100 American Drive, Suite 500
                                           Southfield, MI 48034
                                           (248) 354-7906
                                           mstephenson@sbplcaw.com

 Dated: April 30, 2019




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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION – DETROIT

      IN THE MATTER OF:
      Hugh Michael Sonk,                                           Bankruptcy Case No. 18-49858
                                                                   Honorable Maria L. Oxholm
               Debtor.                                             Chapter 7
                                                  /
       NOTICE OF MOTION FOR ENTRY OF ORDER COMPELLING ABANDONMENT OF
                                REAL PROPERTY
              PLEASE TAKE NOTICE THAT Debtor, Hugh Michael Sonk, by and through his
      counsel, Stevenson & Bullock, P.L.C., has filed a Motion for Entry of Order Compelling
      Abandonment of Real Property (“Motion”).

      Your rights may be affected. You should read these papers carefully and discuss them with
      your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may
      wish to consult one.)
              If you do not want the court to grant the relief sought by Trustee, or if you want the court
      to consider your views on the Motion, within 14 days, you or your attorney must:
          1. File with the court a written response or an answer,1 explaining your position at:
                    United States Bankruptcy Court, 211 W. Fort Street, 17th Floor, Detroit, MI
                       48226
              If you mail your response to the court for filing, you must mail it early enough so the
      court will receive it on or before the date stated above. You must mail a copy to:
                    Michelle Stephenson, 26100 American Dr., Suite 500 Southfield, MI 48034; and
                    Office of the U.S. Trustee, 211 W. Fort Street, Suite 700, Detroit, MI 48226.
           2. If a response or answer is timely filed and served, the clerk will schedule a hearing on the
              Motion and you will be served with a notice of the date, time and locations of the
              hearing.
              If you or your attorney do not take these steps, the court may decide that you do not
      oppose the relief sought in the Motion and may enter an order granting relief.
                                                          Respectfully submitted,
                                                          STEVENSON & BULLOCK, P.L.C.
                                                          By: /s/ Michelle M. Stephenson (P51653)
                                                          Counsel for Debtor
                                                          26100 American Drive, Suite 500
                                                          Southfield, MI 48034
                                                          Phone: (248) 354-7906
      Dated: April 30, 2019                               Email: mstephenson@sbplclaw.com

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    Response or answer must comply with FED. R. CIV. P. 8(b), (c) and (e).



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                                               Honorable Maria L. Oxholm
      Debtor.                                  Chapter 7
                                 /

                            PROOF OF SERVICE

      Michelle M. Stephenson certifies that on the 30th day of April, 2019 that

 a copy of the Debtor’s Motion for Entry of Order Compelling

 Abandonment, proposed Order, Brief in Support, Notice Debtor’s

 Motion for Entry of Order Compelling Abandonment and this Proof of

 Service was served upon all parties listed below, by electronic means and/or

 depositing same in a United States Postal Box located in Southfield,

 Michigan, with postage fully prepaid thereon.


      OFFICE OF THE U.S.                   Hugh Michael Sonk
      TRUSTEE                              505 E. Huron St., Apt. 403
      211 W. Fort Street, Suite 700        Ann Arbor, MI 48104
      Detroit, MI 48226
      Timothy J. Miller                    Peter F. Schneider @
      64541Van Dyke, Suite101              pete@detlegal.com
      Washington, MI 48095

      David     P.     Miller        @
      david@detlegal.com




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      In addition, a copy of the Notice of Debtor’s Motion for Entry of

 Order Compelling Abandonment was served on each and every party listed

 on the Debtor’s matrix obtained from PACER on the 30th day of April, 2019.

                                              /s/ Michelle M. Stephenson
                                              Stevenson & Bullock, P.L.C.
                                              Attorneys for the Debtor
                                              26100 American Drive
                                              Suite 500
                                              Southfield, MI 48034
                                              (248) 354-7906 ext. 2229
                                              mstephenson@sbplcaw.com




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